       Entered on Docket January 24, 2020                      Below is the Judgment of the Court.



                                                               __________________________
 1                                                             Timothy W. Dore
                                                               U.S. Bankruptcy Court Judge
 2                                                             (Dated as of Entered on Docket date above)

 3

 4

 5
     _________________________________________________________________
 6
                                    UNITED STATES BANKRUPTCY COURT
 7
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8

 9
     In re: Patrick Grant Petersen,
                                                                No. 19-14606 TWD
10                               Debtors,

11   Patrick Grant Petersen,                                    STIPULATED JUDGMENT FOR
                                                                QUIET TITLE
12                                   Debtors/Plaintiffs,
                                                                Chapter 13
13                             v.
                                                                Adv. Proc. No. 19-01152-TWD
14    Bank of America, N.A., and The Bank of New
      York Mellon FKA the bank of New York,
15    successor Indenture Trustee to JPMorgan Chase
      Bank, N.A., as Indenture Trustee on behalf of
16    the noteholders of the CWHEQ Inc., CWEQ
      Revolving Home Equity Loan Trust, series
17    2006-C,

18                             Defendants.

19

20

21

22

23       STIPULATED JUDGMENT -- 1                                           LAW OFFICE OF MARK
                                                                               MCCLURE, P.S.
                                                                         1103 West Meeker St., Suite 101
24
                                                                               Kent, WA 98032
                                                                                253-631-6484
25
     Case 19-01152-TWD              Doc 6    Filed 01/24/20   Ent. 01/24/20 13:15:10         Pg. 1 of 4
                                                                 Below is the Judgment of the Court.




 1          THIS MATTER came before the Court upon the agreement of the parties. Plaintiff,

 2   having appeared through his attorney of record, Mark C. McClure, and Defendant, Bank of
     America, N.A., and The Bank of New York Mellon FKA the bank of New York, successor
 3
     Indenture Trustee to JPMorgan Chase Bank, N.A., as Indenture Trustee on behalf of the
 4   noteholders of the CWHEQ Inc., CWEQ Revolving Home Equity Loan Trust (“CWEQ”), series
 5   2006-C, appearing through attorney, Lance E. Olsen of McCarthy ♦ Holthus, LLP, have reached
     an agreement and the court, having reviewed the files and records, being fully advised in the
 6
     premises finds that the parties agree to following facts:
 7
        1. THAT the parties stipulate and agree to entry of this judgment;
 8
        2. THAT the subject real property that is the subject of this Complaint is located at 16032
 9
            SE 250th Ct, Covington, Washington, 98042 (herein after referred to as “Real Estate”).
10
              Legal Description:
11
              LOT 11, APPLE LANE, ACCORDING TO THE PLAT THEREOF RECORDED IN
              VOLUMNE 66 PLATS, PAGE 44, RECORDS, OF KING COUNTY,
12
              WASHINGTON.
13
              LOT 134, TAMARACK, ACCORING TO THE PLAT THEREOF, RECORDED IN
              VOLUME 197 OF PLATS, PAGES 31 THROUGH 38, IN KING COUNTY,
14
              WASHINGTON.
15
              SITUATED IN THE COUNTY OF KING, STATE OF WASHINGTON
16
              Parcel ID Number: 856289-1340.
              (“Property”)
17
        3. THAT On or about January 9, 2006, Plaintiff executed a Deed of Trust identifying
18
            Countrywide Home Loans, Inc. (“Countrywide”) as Lender with Mortgage Electronic
19
            Registration Systems, Inc., (“MERS”) identified as “Beneficiary” securing a HELOC loan
20
            with an original principal amount of $100,000 or so much thereof as may be advanced
21

22

23       STIPULATED JUDGMENT -- 2                                          LAW OFFICE OF MARK
                                                                              MCCLURE, P.S.
                                                                        1103 West Meeker St., Suite 101
24
                                                                              Kent, WA 98032
                                                                               253-631-6484
25
     Case 19-01152-TWD         Doc 6     Filed 01/24/20     Ent. 01/24/20 13:15:10       Pg. 2 of 4
                                                           Below is the Judgment of the Court.




           and readvanced from time to time, which was recorded on January 13, 2006, under
 1
           recording number 20060113002620.
 2
        4. On or about December 20, 2012 an Assignment of Deed of Trust (“Assignment”) was
 3
           executed by MERS as Nominee for Countrywide and recorded on December 24, 2019,
 4
           under recording number 20121224001466, in favor of The Bank of New York Mellon
 5
           FKA the bank of New York, successor Indenture Trustee to JPMorgan Chase Bank, N.A.,
 6
           as Indenture Trustee on behalf of the noteholders of the CWHEQ Inc., CWEQ Revolving
 7
           Home Equity Loan Trust, series 2006-C.THAT Plaintiff has not made any payments on
 8
           the DOT or any underlying note for more than 6 years and therefore such DOT is barred
 9
           by the statute of limitations under RCW 7.28.300.
10
        5. CWHEQ it is the “account’s current creditor”.
11
        6. Plaintiff filed a Chapter 7 Bankruptcy in the Western District of Washington on
12
           September 23, 2011 under Case Number 11-21230-KAO and received a Discharge on
13
           January 5, 2012.
14
        7. Plaintiff did not reaffirm the obligation secured by the DOT.
15
        8. No payments have ever been made to Defendants since the Chapter 7 Discharge nor has
16
           Plaintiff entered into or promised a payment under a Mortgage Modification.
17
        9. More than 6 years has elapsed since the Chapter 7 Discharge and default on the DOT and
18
           its underlying Note.
19

20

21

22

23      STIPULATED JUDGMENT -- 3                                       LAW OFFICE OF MARK
                                                                          MCCLURE, P.S.
                                                                    1103 West Meeker St., Suite 101
24
                                                                          Kent, WA 98032
                                                                           253-631-6484
25
     Case 19-01152-TWD        Doc 6    Filed 01/24/20    Ent. 01/24/20 13:15:10      Pg. 3 of 4
                                                            Below is the Judgment of the Court.




           Based on the foregoing agreed facts, IT IS HEREBY ORDERED:
 1

 2       1. Deed of Trust under King County Recording Numbers 20060113002620 is extinguished

 3          as to the Property referenced herein and Defendants’ DOTs are terminated; and

 4       2. Each party to this Agreement shall bear their own fees and costs.

 5

 6                                        ## END OF ORDER ##

 7

 8   Stipulated by:
             LAW OFFICE OF MARK MCCLURE, PS
 9
           /s/ Mark C. McClure______________________
10         Mark C. McClure, WSBA No. #24393
           Attorney for Plaintiff
11
     Stipulated by:
12           McCarthy & Holthus, LLP

13         /s/ Lance E. Olsen
           Lance E. Olsen, WSBA# 25130
14         Attorneys for Defendants

15

16

17

18

19

20

21

22

23       STIPULATED JUDGMENT -- 4                                       LAW OFFICE OF MARK
                                                                           MCCLURE, P.S.
                                                                     1103 West Meeker St., Suite 101
24
                                                                           Kent, WA 98032
                                                                            253-631-6484
25
     Case 19-01152-TWD        Doc 6    Filed 01/24/20     Ent. 01/24/20 13:15:10      Pg. 4 of 4
